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                                                November 27, 2019

Via ECF
Honorable Leda Dunn Wettre, U.S.M.J.
United States District Court
District of New Jersey
M.L. King Federal Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07102

                     Re:   Giuffre v. North American Spine, LLC, et al.
                           Civil Action No. 2:16-cv-01641-MCA-LDW

Dear Judge Wettre:

       Our office represents defendant Athas Health, LLC, in the above entitled action. On September 24,
2019, the District Court of Dallas County, Texas, 44th Judicial District, entered an order Immediately
Appointing Temporary Receiver, granting Restraining Order, and Ordering Turnover of Collateral to the
Receiver, in the matter of BBVA, USA, as agent v. Northstar Healthcare Acquisitions, LLC, et. al., Cause
no. 19-15508. A copy of the Order is enclosed.

       Athas Health, LLC, was part of a group of corporate entities listed as defendants in that matter, over
which the receiver took immediate control of their assets. Page 28 of the receivership order states that all
persons “are enjoined from in any way disturbing the Receivership Assets or Receivership Proceeds and
from prosecuting any actions or proceedings designed to collect their debts or which involve the Receiver
or which affect the property of the Defendants” without the permission of the District Court of Dallas
County Texas. As stated at Paragraph 26 of the enclosed receivership order, Athas and other related
corporate entities are in “wind-down mode.” The court sets forth, at Paragraph 5 of the order, that the
corporate entities owe “no less than $140 million.”

           Based upon the foregoing, we respectfully request that this litigation be stayed with respect to Athas.

                                                  Respectfully submitted,

                                                  SCHENCK, PRICE, SMITH & KING, LLP
                                                  s/ Julie E. Gendel
                                                  Julie E. Gendel

cc: all counsel (via ECF); Enclosure
{02224476.DOCX;1 }




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